       CASE 0:20-cr-00232-JRT-BRT Doc. 1096 Filed 01/13/22 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,                         Crim. No. 20-232 (JRT/BRT)

                    Plaintiff,

v.

(1) Russell Jason Rahm,
also known as Rusty Rahm;
(5) David John Moulder;
(6) Anthony Eugene Moulder;
(7) Rhonda Jean Moulder;
(8) Barbara Ann Moulder;
(9) Luis Orlando Mendizabal;
(10) Jeffrey Lee Smoliak;
(17) Brian Douglass Cox;
(19) Amondo Antoine Miller;                    NOTICE OF HEARING
(20) Kiley Marie Saindon,                             AND
also known as Kiley Lucero;                    PRE-HEARING ORDER
(21) Henry Aragon;
(22) Lucille J. Patterson,
also known as Lucille Makatura;
(24) Tara Nicole Creason;
(28) Jennifer Lynn Williamson,
also known as Jennifer Key,
also known as Jennifer Roybal,
also known as Jennifer Lynn Girardin;
(31) Tashena Lavera Crump;
(35) Ballam Hazeakiah Dudley;
(36) Caitlin Colleen Schlussler,
also known as Caitlin Colleen Schlusser;
(37) Monica Sabina Sharma-Hanssen;
(38) Timothy Paul Hanssen,
also known as Scotty;
(43) Eric Stephen Esherick,

                    Defendants.
       CASE 0:20-cr-00232-JRT-BRT Doc. 1096 Filed 01/13/22 Page 2 of 4




                               NOTICE OF HEARING

      The above-entitled matter is hereby noticed for a criminal motions hearing on the

motions listed below, before the undersigned U.S. Magistrate Judge on March 3, 2022, at

9:30 a.m. by either via video conference, or at the Diana E. Murphy U.S. Courthouse in

Minneapolis, in a courtroom to be determined.

                               PRE-HEARING ORDER

      1.     Motions.

             The Government and many of the Defendants listed in the above caption
             have filed the following various pretrial motions in this case:

             Doc. Nos. 106, 880, 881, 882, 884, 885, 886, 887, 888, 889, 890, 893, 894,
             895, 896, 897, 898, 899, 900, 908, 909, 911, 913, 917, 918, 919, 920, 921,
             923, 924, 925, 926, 928, 929, 930, 931, 933, 934, 935, 936, 937, 938, 939,
             940, 942, 943, 944, 945, 947, 948, 949, 952, 953, 954, 955, 956, 957, 958,
             959, 960, 961, 962, 963, 964, 965, 967, 968, 969, 970, 973, 974, 975, 976,
             977, 978, 979, 980, 981, 982, 983, 984, 987, 988, 990, 991, 992, 995, 998,
             999, 1000, 1001, 1002, 1003, 1004, 1006, 1007, 1008, 1009, 1011, 1014,
             1020, 1021, 1022, 1023, 1024, 1025, 1027, 1029, 1032, 1033, 1037, 1038,
             1039, 1040, 1041, 1043, 1045, 1053, 1057, 1059.) 1

             The Court directs counsel to meet and confer again regarding the above
             listed motions. Following the meet and confer, defense counsel must each
             inform the Court no later than February 17, 2022, as to whether they still
             seek to maintain each of their motions. If they do not seek to maintain a
             motion (or a part of a motion), counsel must file a letter stating his or her
             intent to withdraw that motion (or part of that motion). If the parties are in
             agreement that a motion, or part of a motion, is now moot, they must state
             so in the letter filed with the Court.


1
       Motions to Sever, and other trial-related motions will be decided by Chief Judge
John R. Tunheim at a later date. (See Doc. Nos. 901, 906, 912, 922, 932, 946, 951, 966,
972, 985, 996, 997, 1005, 1016, 1030, 1042.)

       Also, a Notice of Hearing and Pre-Hearing Order addressing the pending motions
at Doc. Nos. 1035 and 1077 will be issued separately and is forthcoming.
                                             2
     CASE 0:20-cr-00232-JRT-BRT Doc. 1096 Filed 01/13/22 Page 3 of 4




          In light of the current COVID-19 pandemic, and District Court General
          Orders, the Court has limited ability to hold in-person motions hearings in
          the near future. Therefore, if their motions remain pending, on or before
          February 17, 2022, defense counsel must file a letter on ECF indicating
          whether their client consents to hold the motion hearing related to the above
          listed motions via video conference.

    2.    Witnesses. It is the Court’s understanding that witnesses may be called
          regarding one or more of the pending motions. After meeting and
          conferring with counsel from the other side, please confirm how many
          witnesses will be called and the estimated length of their testimony no later
          than February 24, 2022, by providing a joint email to chambers at
          thorson_chambers@mnd.uscourts.gov.

    3.    Attorneys. Counsel shall notify the Court via e-mail to
          thorson_chambers@mnd.uscourts.gov by February 24, 2022, if more than
          one attorney will be present representing a party.

    4.    Anticipated Observers. Counsel shall notify the Court via e-mail to
          thorson_chambers@mnd.uscourts.gov by February 24, 2022, if they
          expect more than 10 observers to be present for the proceeding.

    5.    Exhibits:

          a.     Documents. Counsel shall pre-mark and make .pdf copies of
                 all such possible exhibits that they may seek to introduce at the
                 hearing, and e-mail one complete set thereof to the Court at
                 thorson_chambers@mnd.uscourts.gov no later than February 24,
                 2022. Counsel shall also e-mail one complete set of .pdf copies of all
                 such potential pre-marked exhibits to opposing counsel no later
                 than February 24, 2022.

          b.     Video/Audio Recordings. Counsel shall pre-mark and make
                 electronic copies (whether by DVD, USB drive, or similar electronic
                 media) of all such possible exhibits that they may seek to introduce
                 at the hearing, and send one complete set thereof to the Court to
                 arrive no later than February 24, 2022. Counsel shall also send
                 one complete set of all such potential pre-marked exhibits to
                 opposing counsel to arrive no later than February 24, 2022.

SO ORDERED.

                                         3
       CASE 0:20-cr-00232-JRT-BRT Doc. 1096 Filed 01/13/22 Page 4 of 4




Date: January 13, 2022                         s/ Becky R. Thorson
                                               BECKY R. THORSON
                                               United States Magistrate Judge




                                      4
